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                    DEFENDANT’S PROPOSPED INSTRUCTION 34-1

                                  Nature of the Offense Charged

       Count One of the indictment charges that on or about June 15, 2017, within the Eastern

District of Virginia, the defendant did willfully and knowingly make a materially false, fictitious,

and fraudulent statement or representation in a matter within the jurisdiction of the executive

branch of the Government of the United States, namely,

       (i)     That the defendant denied to agents of the FBI that he had spoken with Charles
               Dolan about any material contained in the Company Reports, when in truth and
               fact, as the defendant well knew, Mr. Dolan was the source for an allegation
               contained in a Company report dated August 22, 2016 and was otherwise involved
               in the events and information described in the reports.


       Count Two of the indictment charges that on or about March 16, 2017, within the Eastern

District of Virginia, the defendant did willfully and knowingly make a materially false, fictitious,

and fraudulent statement or representation in a matter within the jurisdiction of the executive

branch of the Government of the United States, namely,

       (i)     That the defendant stated to agents of the FBI that he received a late July 2016
               telephone call from an individual who he believed was “probably” Sergei Millian,
               when in truth and in fact, as the defendant well knew, Sergei Millian never called
               Danchenko.


       Count Three of the indictment charges that on or about May 18, 2017, within the Eastern

District of Virginia, the defendant did willfully and knowingly make a materially false, fictitious,

and fraudulent statement or representation in a matter within the jurisdiction of the executive

branch of the Government of the United States, namely,

       (i)     That the defendant stated to agents of the FBI that he was “under the impression”
               that a late July 2016 telephone call that he received was from Sergei Millian, when
               in truth and in fact, and as the defendant well knew, Sergei Millian never called
               Danchenko.
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       Count Four of the indictment charges that on or about October 24, 2017, within the Eastern

District of Virginia, the defendant did willfully and knowingly make a materially false, fictitious,

and fraudulent statement or representation in a matter within the jurisdiction of the executive

branch of the Government of the United States, namely,

       (i)     That the defendant stated to agents of the FBI that he believed he spoke to Sergei
               Millian on the telephone on more than one occasion, when in truth and in fact, and
               as the defendant well knew, Danchenko never spoke to Sergei Millian.


       Count Five of the indictment charges that on or about November 16, 2017, within the

Eastern District of Virginia, the defendant did willfully and knowingly make a materially false,

fictitious, and fraudulent statement or representation in a matter within the jurisdiction of the

executive branch of the Government of the United States, namely,

       (i)     That the defendant stated to agents of the FBI that he believed that he had spoken
               to Sergei Millian on the telephone, when in truth and in fact, and as the defendant
               well knew, Danchenko never spoke to Sergei Millian.
